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 8                           UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,     )        Case No. 11CR5939-DMS
                                   )
11                  Plaintiff,     )
                                   )
12        v.                       )        JUDGMENT AND ORDER OF DISMISSAL
                                   )        OF INDICTMENT AS TO DEFENDANT
13   ALLY MARIE MISTONE (2),       )        ALLY MARIE MISTONE (2)
                                   )
14                  Defendant.     )
     ______________________________)
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16        Upon motion of the UNITED STATES OF AMERICA and good cause
17   appearing, IT IS HEREBY ORDERED that the indictment only                      as to
18   Defendant Two,      ALLY MARIE MISTONE (2), in the above entitled case be
19   dismissed without prejudice.
20        IT IS SO ORDERED.
21   DATED:   February 23, 2012
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23                                        HON. DANA M. SABRAW
                                          United States District Judge
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